                                 TO BE FILED UNDER SEAL

                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-129
                                                      )
 v.                                                   )
                                                      )       MATTICE / LEE
 TERRY BALILES                                        )

                                            ORDER

        This matter is before the Court upon the motion of appointed attorney, Chris Lanier on behalf

 of defendant TERRY BALILES seeking authorization of investigative services to assist him in

 preparing the defense of the above-captioned case [Doc. 360].

        Having reviewed and considered the motion filed in support thereof, it is ORDERED that

 the motion [Doc. 360] is GRANTED and:

        (1)    Attorney Lanier may hire an investigator to assist him in this matter, with the
               compensation for such expenses reasonably incurred limited at this time to
               $2,347.00 and subject to review prior to payment. See 18 U.S.C.
               §3006(A)(e)(3).

        (2)    As a reminder, before any services of the investigator are performed which
               would result in total fees for the investigator in excess of $2,400.00,
               permission must be obtained by certification of the United States District
               Judge or United States Magistrate Judge and approval by the Chief Judge of
               the Sixth Circuit Court of Appeals.

        (3)    This Order does not constitute approval of any claim for payment of
               investigative services already rendered or to be rendered in the future. All
               investigative services are subject to review and approval upon submission of
               a proper request for payment.

        ENTER.

                                              s/fâátÇ ^A _xx
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE



Case 1:12-cr-00129-TRM-SKL           Document 366         Filed 09/16/13     Page 1 of 1         PageID
                                           #: 948
